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 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                        CASE NO. 2:17-CR-0189 WBS
12                                    Plaintiff,       AMENDED NOTICE OF HEARING ON
                            v.                         THE UNITED STATES’ MOTION TO
13                                                     LIFT STAY AND SCHEDULE A
      YAMA MARIFAT,                                    STATUS CONFERENCE
14
15                                                     DATE: January 22, 2019
                                     Defendant.        TIME: 9:00 a.m.
16                                                     COURT: Honorable William B. Shubb

17
18
19          PLEASE TAKE NOTICE that the hearing on the United States’ Motion to Lift Stay and Schedule
20 a Status Conference (Dkt. 90) is reset to January 22, 2019, at 9:00 a.m. before the Honorable William B.
21 Shubb.
22
23                                                       Respectfully submitted,
24   DATE: December 27, 2018                              /s/
                                                          ANDREW MAST
25                                                        JENNIFER HANE
                                                          Trial Attorney
26                                                        Antitrust Division
                                                          United States Department of Justice
27
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     AMENDED NOTICE OF HEARING                     1
     17-CR-189 WBS
